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                                     Exhibit B

               Plaintiff Name          Cause Number                  Lead Counsel

  Riva, Jill                       1:16-cv-00439            BEN MARTIN LAW GROUP

  Vinnik, Charles Alan             1:16-cv-03273            BEN MARTIN LAW GROUP

  Demsko, Jane M.                  1:18-cv-00221            BEN MARTIN LAW GROUP

  Madison, April & George Thomas   1:18-cv-02934            BROWN & CROUPPEN, P.C.

  Underwood, Terry                 1:18-cv-03499            BEN MARTIN LAW GROUP

  Harrison, Darlene Miller         1:19-cv-03645            BEN MARTIN LAW GROUP

  Espley, Kevin and Barbara        1:19-cv-05017            WATERS & KRAUS LLP

  Brown, Matthew A.                1:20-cv-06247            BEN MARTIN LAW GROUP

  Heglar, Bernice                  1:21-cv-00759            BEN MARTIN LAW GROUP

  Rodriguez, Casander              1:21-cv-02142            BEN MARTIN LAW GROUP

  White, Duane D.                  1:21-cv-02667            BEN MARTIN LAW GROUP

  Rex, Douglas J.                  1:21-cv-06436            BEN MARTIN LAW GROUP

  Turgun, Dennis                   1:21-cv-06528            BEN MARTIN LAW GROUP

  Meyers, David L.                 1:21-cv-06533            BEN MARTIN LAW GROUP

  Holland, Jeffrey Todd            1:22-cv-00163            BEN MARTIN LAW GROUP




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